      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 1 of 13


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :                18cv715(DLC)
SYNGENTA CROP PROTECTION, LLC,         :
                                       :
                         Plaintiff,    :             OPINION AND ORDER
                                       :
               -v-                     :
                                       :
INSURANCE COMPANY OF NORTH AMERICA,    :
INC., CENTURY INDEMNITY COMPANY, and   :
ACE PROPERY AND CASUALTY INSURANCE     :
COMPANY,                               :
                         Defendants.   :
                                       :
-------------------------------------- X

For the plaintiff:
Dorothea W. Regal
Joshua L. Blosveren
Hoguet Newman Regal & Kenney, LLP
10 East 40th Street
New York, New York 10016

For the defendants:
Robert F. Walsh
Rafael Vergara
White and Williams LLP
1650 Market Street
One Liberty Place, Suite 1800
Philadelphia, Pennsylvania 19103-7395

DENISE COTE, District Judge:

    This litigation arises out of an insurance coverage dispute

regarding the relationship between a set of decades-old

insurance policies and a subsequent settlement agreement.

Syngenta Crop Protection, LLC (“Syngenta”) seeks coverage under

these policies for a set of claims involving asbestos exposure

among contract workers associated with its predecessors (the

“Asbestos Claims”).    The defendant insurance companies,
      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 2 of 13


Insurance Company of North America, Inc., Century Indemnity

Company, and ACE Property and Casualty Insurance Company

(collectively, “INA”), believe that the Asbestos Claims were

released by a settlement agreement signed in 1999 (the “1999

Settlement”).    Syngenta claims that INA has waived its right to

enforce the release.    For the following reasons, this Opinion

determines that the disputes between the parties concerning the

scope and enforceability of the release must be submitted to an

arbitrator in the first instance.

                               BACKGROUND

    The following facts are undisputed for the purposes of this

motion.   From approximately 1958 to 1986, INA and its

predecessors issued insurance policies of which Syngenta is the

beneficiary.    Syngenta has been named as a defendant in numerous

lawsuits, collectively asserting claims on behalf of

approximately 1,700 non-employee contractors, who claim to have

been harmed from exposure to asbestos while working on

Syngenta’s premises in Louisiana -- a group of claims this

Opinion refers to as the “Asbestos Claims.”        Syngenta first

notified INA about the Asbestos Claims in March 1999, which at

the time involved 325 plaintiffs, in order to seek a coverage

determination.

    That was not the first time these insurance policies had

been invoked.    After a long-running litigation concerning




                                    2
      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 3 of 13


environmental damage allegedly caused by Syngenta, a settlement

agreement was reached in January 1999 (the “1999 Settlement”).

Pursuant to the 1999 Settlement, Syngenta released any

“Environmental Claims”, a carefully defined term, that it had

against INA.    It also agreed that:

          In the event of any dispute with respect to this
          Settlement Agreement and Release, the Parties
          agree to resolve that dispute through
          arbitration, to be held in New York City,
          pursuant to the Rules of Arbitration of the
          American Arbitration Association.

    As described above, two months after the 1999 Agreement was

signed, Syngenta formally notified INA about the Asbestos

Claims.    The parties dispute numerous aspects of what happened

over the next 18 years.     What is not disputed, however, is that

INA initially responded to the coverage request on April 15,

1999 through a reservation of rights letter, which listed

numerous potential grounds for denying coverage, but not a

defense of prior release under the 1999 Settlement.          After years

of periodic updates on the claims, Syngenta made a formal demand

for payment on the Asbestos Claims in 2008.        INA has since

requested periodic status updates on the Asbestos Claims, but

had never formally denied coverage until 2017, when it first

invoked the defense of prior release pursuant to the 1999

Settlement.

    On November 2, 2017, INA commenced an arbitration under the

1999 Settlement against Syngenta and the agreement’s other



                                    3
      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 4 of 13


signatories, seeking a declaration that the Asbestos Claims were

released by the agreement.     On January 29, 2018, Syngenta filed

a complaint in this Court seeking a declaration that INA is

obligated to pay for the defense costs and liabilities incurred

by Syngenta in connection with the Asbestos Claims, damages it

has incurred thus far in connection with Asbestos Claims, and an

injunction to preclude INA from pursuing the prior release

defense against Syngenta in the arbitration.        On February 1,

2018, Syngenta filed a preliminary and permanent injunction

motion seeking to enjoin the arbitration.

     At a conference on February 9, 2018, INA indicated that it

would move for a stay of these proceedings pending arbitration.

The Court deferred further briefing on plaintiff’s motion for an

injunction pending the resolution of this motion to stay.              INA

has represented that it will not proceed with the arbitration

until the resolution of its motion.        The motion for stay was

filed on February 23 and became fully submitted on March 23.

                               DISCUSSION

     Section 3 of the Federal Arbitration Act, 9 U.S.C. § 3,

provides authority for a court to stay an action pending the

result of an arbitration.1     It reads:

       If any suit or proceeding be brought in any of
       the courts of the United States upon any issue

1 This Court has subject matter jurisdiction over this case due
to diversity of citizenship of the parties. 28 U.S.C. §
1332(a).


                                    4
      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 5 of 13


       referable to arbitration under an agreement in
       writing for such arbitration, the court in which
       such suit is pending, upon being satisfied that
       the issue involved in such suit or proceeding is
       referable to arbitration under such an agreement,
       shall on application of one of the parties stay
       the trial of the action until such arbitration
       has been had in accordance with the terms of the
       agreement, providing the applicant for the stay
       is not in default in proceeding with such
       arbitration.

9 U.S.C. § 3.   A district court “must stay proceedings if

satisfied that the parties have agreed in writing to arbitrate

an issue or issues underlying the district court proceeding.”

WorldCrisa Corp. v. Armstrong, 129 F.3d 71, 74 (2d Cir. 1997).

The parties do not dispute that there has been an agreement to

arbitrate.   This dispute instead centers on whether the

arbitrator or the court has the power to decide whether the

underlying issues are subject to arbitration, and, if the court

has that power, whether the issues should be arbitrated.

I.   Waiver by Conduct

     Syngenta contends that INA has waived its right to seek

arbitration through its failure to assert the 1999 Settlement as

a defense to coverage for more than 18 years after being

notified of the Asbestos Claims.        INA argues that the validity

of the waiver argument is for the arbitrator to decide, and that

in any event there has not been such a waiver.

     In Howsam v. Dean Witter Reynolds, Inc., the Court stated

that “waiver, delay, or a like defense to arbitrability” are




                                    5
      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 6 of 13


defenses that are presumptively for an arbitrator, not a court,

to decide.   537 U.S. 79, 84-85 (2002) (citing Moses H. Cone

Memorial Hospital v. Mercury Constr. Corp., 460 U.S. 1, 24-25

(1983)); see also BG Group, PLC v. Republic of Argentina, 134 S.

Ct. 1198, 1207 (2014); Republic of Ecuador v. Chevron Corp., 638

F.3d 384, 394 (2d Cir. 2011).      These types of issues, which

Howsam described as “gateway procedural disputes,” are

distinguished from “questions of arbitrability”, which are

“disagreement[s] about whether an arbitration clause in a

concededly binding contract applies to a particular type of

controversy.”    Howsam, 537 U.S. at 84-85.      Questions of

arbitrability, in contrast to gateway procedural disputes, are

presumptively for a court to decide.       Of course, these are only

default presumptions, and the parties can modify them through

the language of their arbitration clause.        Id. at 85.

    Despite the general presumption that arbitrators decide

questions of waiver, the Second Circuit has recently reaffirmed

that “[w]hen the party seeking arbitration has participated in

litigation regarding the dispute, the district court can

properly decide the question of waiver.”        Meyer v. Uber

Technologies, Inc., 868 F.3d 66, 80-81 (2d Cir. 2017) (citing

Bell v. Cendant Corp., 293 F.3d 563, 569 (2d Cir. 2002)).              This

waiver-by-litigation-conduct exception has been carefully

circumscribed.   Bell characterized the Second Circuit’s cases as




                                    6
      Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 7 of 13


holding that “[o]rdinarily a defense of waiver . . . is a matter

to be decided by the arbitrator, with a single exception: that

to prevent forum shopping the district court could properly

decide the question [of waiver] when the party seeking

arbitration had already participated in litigation on the

dispute.”    Id. at 569 (emphasis in original) (citation omitted).

In an earlier case, Doctor’s Associates, Inc. v. Distajo, the

Second Circuit similarly characterized its decisions where it

decided waiver issues as involving situations where “the party

had previously participated in court proceedings to litigate the

same dispute.”    66 F.3d 438, 456 (2d Cir. 1995).       The court then

held that it had “distinguish[ed] between cases where the waiver

defense was based on prior litigation by the party seeking

arbitration -- when the court should decide the issue of waiver

-- and those when the defense was based on other actions.”             Id.

at 456.     No Second Circuit case in the last 60 years has treated

waiver as an issue for a court to decide absent prior litigation

involving the dispute at issue.

    The question of whether INA has waived its right to

arbitrate through its conduct is one for the arbitrator, not

this Court.     Syngenta does not assert, nor could it assert, that

INA has waived its right to arbitrate through any litigation

conduct.     Because Syngenta’s assertion that INA has waived the

right to arbitrate is a “waiver, delay, or like defense to




                                    7
        Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 8 of 13


arbitrability,” Howsam, 537 U.S. at 84-85, involving out-of-

court conduct, that gateway procedural dispute is presumptively

one for the arbitrator.       Nothing in the arbitration clause here

evidences any intention to shift that presumption.           Accordingly,

Syngenta’s claim that INA has waived its right to arbitrate

through conduct is for the arbitrator to decide, not this Court.

       Relying on some of the discussion in Distajo, Syngenta

asserts that the court must decide all questions of waiver of

the right to arbitrate through conduct because such conduct

amounts to a “default in proceeding with” arbitration under 9

U.S.C. § 3.     Distajo, 66 F.3d at 454-55.       The Distajo

discussion, however, also notes that the inquiry has become

rather divorced from the statutory text, and goes on to

explicitly distinguish between a court’s power to decide waiver

issues involving litigation conduct, and other waivers.            Id. at

456.

       Syngenta also claims, based on out-of-circuit authority,

that issues of waiver by conduct are presumptively for the

court, not the arbitrator.       The cited cases, however, are all

cases that involved litigation conduct, not out-of-court

conduct.    See Marie v. Allied Home Mortgage Corp., 402 F.3d 1,

14-15 (1st Cir. 2005); Ehleiter v. Grapetree Shores, Inc., 482

F.3d 207, 221-22 (3d Cir. 2007).




                                      8
       Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 9 of 13


II.   Waiver Under New York Insurance Law

      Syngenta next contends that INA has waived its right to

assert prior release as a defense to insurance coverage under

New York Insurance Law § 3420.       Syngenta further argues that

that this contention is outside the scope of the arbitration

clause because it is independent of, or collateral to, the 1999

Settlement.    That is, Syngenta believes that this argument turns

not on the question of whether the Asbestos Claims were in fact

released under the 1999 Settlement, but rather on whether INA

has waived its right to assert this defense to covering the

Asbestos Claims through its delay.

      This variety of waiver argument, unlike the waiver issue

discussed above, is best characterized as a “question of

arbitrability,” because it is not a procedural defense to the

arbitration going forward at all, but rather a defense going to

the merits of the underlying dispute between Syngenta and INA.

The parties agree that this argument should be analyzed as a

“question of arbitrability.”

      The parties disagree, however, over whether the court or

the arbitrator decides the question of arbitrability -- that is,

who decides whether Syngenta’s argument under New York Insurance

Law is within the scope of the arbitration clause.

        Parties to an arbitration agreement “may provide
        that the arbitrator, not the court, shall
        determine whether an issue is arbitrable.” But
        the issue of arbitrability may only be referred



                                     9
     Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 10 of 13


       to the arbitrator if “there is clear and
       unmistakable evidence from the arbitration
       agreement, as construed by the relevant state
       law, that the parties intended that the question
       of arbitrability shall be decided by the
       arbitrator.”

Bell, 293 F.3d at 566 (quoting First Options, 514 U.S. at 944).

    New York Law, which the parties agree governs this issue,

“follow[s] the same principles [as federal law] when deciding

whether the parties to an arbitration agreement have clearly and

unmistakably indicated an intent to arbitrate arbitrability.”

Shaw Group Inc. v. Triplefine Int’l Corp., 322 F.3d 115, 124 (2d

Cir. 2003).   Under these standards, arbitration clauses that use

language mandating arbitration of, for example, “all disputes

. . . concerning or arising out” of an agreement constitute

clear and unmistakable delegations of the power to decide

questions of arbitrability to the arbitrator.        Id. at 121-22

(collecting cases); see Smith Barney, Inc. v. Hause, 238 A.D.2d

104 (1st Dep’t 1997) (clause requiring arbitration of “any

controversy . . . with respect to this agreement or the breach

thereof” constituted clear and unmistakable delegation to the

arbitrator to decide question of arbitrability), aff’d sub nom.

Smith Barney Shearson Inc. v. Sacharow, 91 N.Y.2d 39 (1997); see

also Benihana, Inc. v. Benihana of Tokyo, LLC, 784 F.3d 887,

897-98 (2d Cir. 2015) (in dicta, noting that clause requiring

“any other dispute . . . in connection with the terms or

provisions of this Agreement” is a clear and unmistakable



                                   10
     Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 11 of 13


delegation to the arbitrator to decide questions of

arbitrability).

    Parties can further reflect their intent to arbitrate

questions of arbitrability by incorporating rules of an

arbitration association that empower arbitrators to decide such

questions into their agreement.      Incorporation of such rules has

repeatedly been held to constitute a clear and unmistakable

intention to delegate questions of arbitrability to the

arbitrator.    See Contec Corp. v. Remote Solution, Co., 398 F.3d

205, 208 (2d Cir. 2005) (AAA rules); Schneider v. Kingdom of

Thailand, 688 F.3d 68, 72 (2d Cir. 2012); Republic of Ecuador,

638 F.3d at 394-95.

    The arbitration clause in the 1999 Settlement requires that

“any dispute with respect to” the agreement be resolved through

arbitration.     This language, which is effectively identical to

that of clauses that have previously been held to be clear and

unmistakable delegations to the arbitrator of questions of

arbitrability, must also be held to reflect a clear and

unmistakable delegation to the arbitrator to decide questions of

arbitrability.

    The arbitration clause also provides that the rules of the

American Arbitration Association (“AAA”) are to govern.

Although the arbitration clause is silent as to exactly which

rules of the AAA would apply, the AAA’s commercial arbitration




                                   11
     Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 12 of 13


rules, both when the agreement was signed in 1999 and now, state

that “the parties shall be deemed to have made these rules a

part of their arbitration agreement whenever they have provided

for . . . arbitration by the AAA of a domestic commercial

dispute without specifying particular rules.”        The 1999

Agreement and the disputes here both arise out of, and are,

domestic commercial disputes.     And choosing to use the AAA’s

rules necessarily implies, absent evidence to the contrary, that

the AAA is to administer the arbitration.       See Prostyakov v.

Masco Corp., 513 F.3d 716, 723-24 (7th Cir. 2008).         There is no

ambiguity in concluding that the parties to the 1999 Agreement,

by choosing the rules of the AAA, meant to choose the AAA’s

commercial arbitration rules.2

     The AAA commercial arbitration rules provided in 1999, and

do today, that “[t]he arbitrator shall have the power to rule on

his or her own jurisdiction, including any objections with

respect to the existence, scope, or validity of the agreement.”

This rule, necessarily incorporated into the parties’

arbitration clause, clearly and unmistakably demonstrated the

parties’ intent to delegate the power to determine arbitrability

to the arbitrator.   See Contec, 398 F.3d at 208.




2 The AAA also has supplementary rules for insurance coverage
disputes, but these rules incorporate the commercial arbitration
rules in all relevant respects.


                                   12
     Case 1:18-cv-00715-DLC Document 32 Filed 03/29/18 Page 13 of 13


    Syngenta does not attempt to distinguish the cases holding

very similar clauses to be clear and unmistakable delegations to

the arbitrator to decide questions of arbitrability.         Nor can it

refute that the applicable AAA rules are its commercial

arbitration rules, which also provide an unmistakable delegation

to the arbitrator to decide arbitrability.       Accordingly, this

question of arbitrability is for the arbitrator.

                              CONCLUSION

    The action is stayed in favor of arbitration.          The parties

shall submit a joint letter on the status of the arbitration

proceedings by August 31, 2018.      The parties shall inform the

Court within seven (7) days after the conclusion of the arbitral

proceedings.

    SO ORDERED:

Dated:    New York, New York
          March 29, 2018


                                 __________________________________
                                            DENISE COTE
                                    United States District Judge




                                   13
